                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               October 22, 2015
                              No. 10-14-00218-CR
                                 RAFAEL SUAREZ
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 82[nd] District Court
                              Falls County, Texas
                             Trial Court No. 9279
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's judgment signed on July 10, 2014 is affirmed.
A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
				Nita Whitener, Deputy Clerk

